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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

  AMERICAN ASSOCIATIONS OF
  UNIVERSTIY PROFESSORS, ET AL.,

                                           Plaintiffs,    No. 1:25-cv-10685-WGY
  v.
                                                         NOTICE OF SEALED
  MARCO RUBIO, in his official capacity as               SUBMISSION OF
  Secretary of State, and the DEPARTMENT OF              DOCUMENTS FOR
  STATE, ET AL.,                                         IN CAMERA, EX PARTE
                                                         REVIEW
                                        Defendants.



              INDEX RELATING TO THE SEALED, IN CAMERA, EX PARTE
                           SUBMISSION OF DOCUMENTS

        Pursuant to the Court’s invitation to submit documents for in camera inspection, the

Government respectfully submits the following:

        Exhibit A.     Report on Department of State Authorities to Counter Anti-Semitism

and Recommendations for Familiarizing Institutions of Higher Education with the Security

and Related Grounds for Visa Inadmissibility. This document is subject to the deliberative

process privilege and the presidential communications privilege and therefore has been

withheld from Plaintiffs in full.

        Exhibits B-K are Department of Homeland Security documents that relate to specific

individuals. These documents are law enforcement sensitive and have not been filed in any

other proceedings or otherwise shared with the individuals discussed therein. They have

therefore been withheld from Plaintiffs in full.

        Exhibit B.     Letter to Andrea Toll Whiting, Director of Field Operations, U.S. State

Department on                       ;

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       Exhibit C.       HSI Report of Analysis on                   ;

       Exhibit D.       Letter to Andrea Toll Whiting, Director of Field Operations, U.S. State

Department on                        ;

       Exhibit E.       HSI Report of Analysis on                       ;

       Exhibit F.       Letter to John L. Armstrong, Senior Bureau Official Bureau of Consular

Affairs, U.S. State Department on                           ;

       Exhibit G.       HSI Report of Analysis on                           ;

       Exhibit H.       Letter to John L. Armstrong, Senior Bureau Official Bureau of Consular

Affairs, U.S. State Department on                       ;

       Exhibit I.       HSI Report of Analysis on                       ;

       Exhibit J.       Letter to John L. Armstrong, Senior Bureau Official Bureau of Consular

Affairs, U.S. State Department on                       ;

       Exhibit K.       HSI Report of Analysis on                       .

       The following are Department of State documents that relate to specific individuals.

These documents are subject to the deliberative process privilege and have not been filed in

any other proceedings or otherwise shared with the individuals discussed therein. They have

therefore been withheld from Plaintiffs in full.

       Exhibit L.       Action Memo for the Secretary -- Removal of                  and

                    under INA 237(a)(4)(C);

       Exhibit M.       Action Memo for the Secretary -- Determination of Deportability of

                    under INA 237(a)(4)(C);

       Exhibit N.       Action Memo for the Secretary -- Determination of Deportability of

                  under INA 237(a)(4)(C);


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    Case
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      Exhibit O.   Action Memo for Senior Bureau Official John Armstrong --

Visa Revocation.




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Respectfully Submitted,

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 District of Massachusetts


 Dated: June 11, 2025




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